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                              EXHIBIT A
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                                        SUMMONS

 District Court: First Judicial                     Case Number: D-101-CV-2020-00708
 Santa Fe County, New Mexico
 Court Address: 225 Montezuma Ave,                  Judge: Honorable Maria Sanchez-
 Santa Fe, New Mexico 87501                         Gagne
 Court Telephone: (505) 455-8250
 Britni Jones                                       Name: Derrick Young
                 Plaintiff,                         326 Karen Ave
 v.                                                 Las Cruces, NM 88007

 Legacy Burgers, Inc., d/b/a Burger King and
 Derrick Young, Individually and as Agent
 of Legacy Burgers, Inc., d/b/a Burger King

                Defendants.

                    TO THE ABOVE NAMED DEFENDANT(S): Take notice that
1.      A lawsuit has been filed against you. A copy of the lawsuit is attached. The Court issued this
Summons.
2.      You must respond to this lawsuit in writing. You must file your written response with the Court
no later than thirty (30) days from the date you are served with this Summons. (The date you are
considered served with the Summons is determined by Rule 1-004 NMRA). The Court’s address is
listed above.
3.       You must file (in person or by mail) your written response with the Court. When you file your
response, you must give or mail a copy to the person who signed the lawsuit.
4.      If you do not respond in writing, the Court may enter judgment against you as requested in the
lawsuit.
5.      You are entitled to a jury trial in most types of lawsuits. To ask for a jury trial, you must request
one in writing and pay a jury fee.
6.      If you need an interpreter, you must ask for one in writing.
7.      You may wish to consult a lawyer. You may contact the State Bar of New Mexico for help
finding a lawyer at www.nmbar.org; 1-800-876-6657; or 1-505-797-6066.
Dated at _________________,
              Santa Fe           New Mexico, on this _____ 9 day of ____________________2020.
                                                                               April

_______________________,
KATHLEEN   VIGIL         CLERK OF COURT

By: ___________________
       Deputy                                         Attorney for Plaintiff
                                                      Name: Timothy L. White
                                                      Address: PO Box 25646
                                                      Albuquerque, NM 87125
                                                      Telephone: (505)345-0289
                                                      Fax: (505) 345-2573
                                                      Email Address: tim@valdezwhite.com


THIS SUMMONS IS ISSUED PURSUANT TO RULE 1-004 OF THE NEW MEXICO
RULES OF CIVIL PROCEDURE FOR DISTRICT COURTS.
     Case 2:20-cv-00441-JCH-SMV Document 1-1 Filed 05/08/20 Page 9 of 23




                                        SUMMONS

 District Court: First Judicial                     Case Number: D-101-CV-2020-00708
 Santa Fe County, New Mexico
 Court Address: 225 Montezuma Ave,                  Judge: Honorable Maria Sanchez-
 Santa Fe, New Mexico 87501                         Gagne
 Court Telephone: (505) 455-8250
 Britni Jones
                 Plaintiff,                         Name: Legacy Burgers, Inc., d/b/a
 v.                                                 Burger King
                                                    c/o Paracorp, Incorporated
 Legacy Burgers, Inc., d/b/a Burger King,           Address: 1012 Marquez Pl, #106-B
 and                                                Santa Fe, New Mexico 87505
 Derrick Young, Individually and as Agent
 of Legacy Burgers, Inc., d/b/a Burger King

                Defendants.

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finding a lawyer at www.nmbar.org; 1-800-876-6657; or 1-505-797-6066.
Dated at _________________,
              Santa Fe           New Mexico, on this _____9 day of ____________________2020.
                                                                                April

_______________________,
KATHLEEN VIGIL           CLERK OF COURT

By: ___________________
       Deputy                                         Attorney for Plaintiff
                                                      Name: Timothy L. White
                                                      Address: PO Box 25646
                                                      Albuquerque, NM 87125
                                                      Telephone: (505)345-0289
                                                      Fax: (505) 345-2573
                                                      Email Address: tim@valdezwhite.com

THIS SUMMONS IS ISSUED PURSUANT TO RULE 1-004 OF THE NEW MEXICO
RULES OF CIVIL PROCEDURE FOR DISTRICT COURTS.
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